          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 1 of 161


1

2

3

4

5

6

7                                 UNITED STATES DISTRICT COURT
8                              NORTHERN DISTRICT OF CALIFORNIA
9                                          SAN JOSE DIVISION
10   IN RE: APPLE INC. DEVICE                             CASE NO. 5:18-md-02827-EJD
     PERFORMANCE LITIGATION
11                                                        STIPULATION OF SETTLEMENT
12

13   This Document Relates To:

14          ALL ACTIONS.

15
                             SETTLEMENT AGREEMENT AND RELEASE
16
            The Parties, by and through their respective counsel, in consideration for and subject to the
17
     promises, terms, and conditions contained in this Settlement Agreement, hereby warrant, represent,
18
     acknowledge, covenant, stipulate and agree, subject to Court approval pursuant to Rule 23 of the
19
     Federal Rules of Civil Procedure, as follows:
20
     1.     DEFINITIONS
21
            As used herein, the following terms have the meanings set forth below:
22
            1.1    “Actions” means the MDL Action and the JCCP Action, collectively; and each term is
23
     defined as follows:
24
                   1.1.1    “JCCP Action” means the California state lawsuits that were coordinated in San
25
                           Francisco Superior Court pursuant to California Code of Civil Procedure
26
                           § 404.1, and consolidated into Judicial Council Coordination Proceeding
27
                           (JCCP) No. 4976. The JCCP Action shall also include any additional California
28

                                                      1
                                        STIPULATION OF SETTLEMENT
                                         CASE NO. 5:18-MD-02827-EJD
         Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 2 of 161


1                             state actions that have been or may be filed and/or coordinated with the JCCP
2                             Action.
3                   1.1.2     “MDL Action” means the actions consolidated by the Judicial Panel on
4                             Multidistrict Litigation (JPML) in the Northern District of California pursuant
5                             to 28 U.S.C. § 1407, into proceedings captioned In re Apple Inc. Device
6                             Performance Litigation, No. 18-md-2827-EJD. The MDL Action shall include
7                             the actions identified in Appendix A, as well as include any and all additional
8                             federal actions that have been or may be filed, related to, and/or consolidated
9                             into the MDL Action, including but not limited to Rodriguez v. Apple Inc.,
10                            No. 18-3989-EJD (N.D. Cal. filed July 2, 2018), and other individually filed
11                            actions before and after JPML centralization in this District.
12          1.2     “Apple” means Apple Inc.
13          1.3     “Approved Claims” means those Claims which are approved by the Settlement
14   Administrator for payment.
15          1.4     “Attorneys’ Fees and Expenses” means any award of attorneys’ fees and expenses.
16          1.5     “Claim Form” means the proof of claim and release form(s) substantially in the form
17   attached as Exhibit A.
18          1.6     “Claim” means any claim submitted by a Settlement Class Member.
19          1.7     “Claims Period” means the period between the Notice Date until the deadline set forth
20   in paragraph 6.4.
21          1.8     “Class Counsel” means the law firms of Cotchett, Pitre & McCarthy LLP and Kaplan
22   Fox & Kilsheimer LLP, who have any and all authority and capacity necessary to execute this
23   Settlement Agreement and bind all of the Named Plaintiffs who have not personally signed this
24   Settlement Agreement, as if each of those individuals had personally executed this Settlement
25   Agreement.
26          1.9     “Class Notice” means the Notice of Pendency and Proposed Settlement of Class Action,
27   substantially in the form attached as Exhibit B.
28          1.10    “Court” means the United States District Court for the Northern District of California.

                                                          2
                                           STIPULATION OF SETTLEMENT
                                            CASE NO. 5:18-MD-02827-EJD
         Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 3 of 161


1           1.11   “Defense Counsel” means the law firm of Gibson, Dunn & Crutcher LLP.
2           1.12   “Effective Date” shall mean the first day after which all of the following events and
3    conditions of this Settlement Agreement have been met or occurred:
4                  a)     All non-U.S. Named Plaintiffs have personally executed this Settlement
5                         Agreement;
6                  b)     Class Counsel have confirmed in writing that they have used best efforts to have
7                         all the remaining Named Plaintiffs personally execute this Settlement
8                         Agreement;
9                  c)     Apple, Class Counsel, JCCP Counsel, and Defense Counsel have executed this
10                        Settlement Agreement;
11                 d)     The Court has conditionally certified the Settlement Class, preliminarily
12                        approved the Settlement, and approved notice to the Settlement Class;
13                 e)     The time period for members of the Settlement Class to exclude themselves has
14                        expired;
15                 f)     The Settlement Administrator has delivered the spreadsheet(s) and information
16                        to Defense Counsel and Class Counsel as specified in paragraphs 6.9 and 6.10;
17                 g)     All disputed Claims have been resolved;
18                 h)     The Court has entered the Final Approval Order and Final Judgment;
19                 i)     The time for appeal or writ of the Final Approval Order and Final Judgment has
20                        expired or, if an appeal and/or petition for review is taken and the Settlement is
21                        affirmed, the time period during which further petition for hearing, appeal, or
22                        writ of certiorari can be taken has expired;
23                 j)     The time for appeal or writ of any order regarding Attorneys’ Fees and Expenses
24                        and/or Named Plaintiff Service Awards has expired or, if an appeal and/or
25                        petition for review is taken and the order is affirmed, the time period during
26                        which further petition for hearing, appeal, or writ of certiorari can be taken has
27                        expired;
28                 k)     The JCCP Action is dismissed with prejudice and a final judgment is entered;

                                                      3
                                       STIPULATION OF SETTLEMENT
                                        CASE NO. 5:18-MD-02827-EJD
         Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 4 of 161


1                          and
2                   l)     The time for appeal or writ of the final judgment in the JCCP Action has expired
3                          or, if an appeal and/or petition for review is taken and the dismissal is affirmed,
4                          the time period during which further petition for hearing, appeal, or writ of
5                          certiorari can be taken has expired.
6           1.13    “Final Approval Order and Final Judgment” means the final approval order and
7    judgment dismissing and closing the MDL Action in the form attached as Exhibits E and F.
8           1.14    “Final Hearing” means the hearing(s) held by the Court to consider and determine
9    whether the requirements for certification of the Settlement Class have been met and whether the
10   Settlement should be approved as fair, reasonable, and adequate; whether Class Counsel’s Attorneys’
11   Fees and Expenses and/or Named Plaintiff Service Awards should be approved; and whether the final
12   judgment approving the Settlement and dismissing the Actions on the merits and with prejudice should
13   be entered. The Final Hearing may, from time to time and without further notice to the Settlement
14   Class (except those who have filed timely and valid objections and requested to speak at the Final
15   Hearing), be continued or adjourned by order of the Court.
16          1.15    “JCCP Counsel” means the attorneys with The Brandi Law Firm and The Law Offices
17   of Andrew J. Brown appointed as Co-Lead Counsel in the JCCP Action.
18          1.16    “iPhone” means Apple iPhone 6, 6 Plus, 6s, 6s Plus, 7, 7 Plus, and SE devices.
19          1.17    “Maximum Class Settlement Amount” means Five Hundred Million U.S. Dollars
20   ($500,000,000.00), less any amounts paid to the Named Plaintiffs as Service Awards.
21          1.18    “MDL Counsel” means the attorneys appointed as interim counsel in the MDL Action.
22          1.19    “Minimum Class Settlement Amount” means Three Hundred Ten Million U.S. Dollars
23   ($310,000,000.00). Under no circumstances shall any portion of the Minimum Class Settlement
24   Amount revert to Apple.
25          1.20    “Named Plaintiffs” means all individuals identified in Appendix B. Notwithstanding
26   the foregoing, the “Named Plaintiffs” shall further exclude any individual who requests exclusion from
27   the Settlement Class and/or submits an objection to the Settlement.
28          1.21    “Named Plaintiff Service Awards” means the service awards for the Named Plaintiffs,

                                                        4
                                        STIPULATION OF SETTLEMENT
                                         CASE NO. 5:18-MD-02827-EJD
         Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 5 of 161


1    as set forth in paragraph 8.4.
2            1.22    “Notice Date” means seventy-five (75) days after the deadline for the Settlement
3    Administrator to receive the names, email addresses, mailing addresses, and serial numbers for the
4    members of the Settlement Class as provided in paragraph 6.2.2.
5            1.23    “Parties” means Apple and the Named Plaintiffs.
6            1.24    “Plaintiffs’ Counsel” means Class Counsel, MDL Counsel, JCCP Counsel, and all of
7    the attorneys, associates, law firms, and legal representatives, who have represented and/or purport to
8    represent any of the Named Plaintiffs and/or who brought any of the Actions, including but not limited
9    to all of the attorneys and firms identified in Appendix C.
10           1.25    “Preliminary Approval Order” means the order preliminarily approving the Settlement,
11   providing for notice to the Settlement Class, and other related matters in the form attached as Exhibit D.
12           1.26    “Released Parties” means (a) Apple and its past, present, and future parents,
13   subsidiaries, affiliates, divisions, joint ventures, licensees, franchisees, and any other legal entities,
14   whether foreign or domestic, that are owned or controlled by Apple; and (b) the past, present, and future
15   shareholders, officers, directors, members, agents, employees, independent contractors, consultants,
16   administrators, representatives, fiduciaries, insurers, predecessors, successors, and assigns of the
17   entities in part (a) of this paragraph.
18           1.27    “Residual” means the difference between the value of the Approved Claims and the
19   Minimum Settlement Amount, as set forth in paragraph 5.3.
20           1.28    “Settlement” and “Settlement Agreement” mean the settlement described in this
21   Stipulation of Settlement.
22           1.29    “Settlement Administrator” means Angeion Group, which shall provide settlement
23   notice and administration services pursuant to the terms of this Settlement Agreement.
24           1.30    “Settlement Administration Protocol” means the protocol attached as Exhibit G.
25           1.31    “Settlement Class Member” means and includes every member of the Settlement Class
26   who does not validly and timely request exclusion from the Settlement Class.
27           1.32    “Settlement Class” means all former or current U.S. owners of iPhone 6, 6 Plus, 6s, 6s
28   Plus, 7, 7 Plus, and SE devices running iOS 10.2.1 or later (for iPhone 6, 6 Plus, 6s, 6s Plus, and SE

                                                         5
                                           STIPULATION OF SETTLEMENT
                                            CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 6 of 161


1    devices) or iOS 11.2 or later (for iPhone 7 and 7 Plus devices), and who ran these iOS versions before
2    December 21, 2017. For purposes of this definition, “U.S. owners” shall include individuals who
3    owned, purchased, leased, or otherwise received an eligible device, and individuals who otherwise used
4    an eligible device for personal, work, or any other purposes. An individual qualifies as a “U.S. owner”
5    if his or her device was shipped to the United States, its territories, and/or its possessions. The
6    Settlement Class shall not include iPhone owners who are domiciled outside of the United States, its
7    territories, and/or its possessions. Additionally, excluded from the Settlement Class are (a) directors,
8    officers, and employees of Apple or its subsidiaries and affiliated companies, as well as Apple’s legal
9    representatives, heirs, successors, or assigns, (b) the Court, the Court staff, as well as any appellate
10   court to which this matter is ever assigned and its staff, (c) any of the individuals identified in paragraph
11   1.36, as well as their legal representatives, heirs, successors, or assigns, (d) Defense Counsel, as well
12   as their immediate family members, legal representatives, heirs, successors, or assigns, and (e) any
13   other individuals whose claims already have been adjudicated to a final judgment.
14           1.33    “Settlement Funds” means funds sufficient to pay the Approved Claims and the Named
15   Plaintiff Service Awards.
16           1.34    “Settlement Website” means an Internet website that the Settlement Administrator shall
17   establish to inform the Settlement Class of the terms of this Settlement, their rights, dates, deadlines,
18   and related information.
19           1.35    “Summary Notice” means the Summary Notice of Settlement, substantially in the form
20   attached as Exhibit C.
21           1.36    Notwithstanding the foregoing definitions and terms, the following individuals and
22   former plaintiffs are not Settlement Class Members, because their claims have been dismissed with
23   prejudice: Meghan Mesloh; Aja Johnson; and Quinn Lewis. These individuals shall have no right to
24   any payment(s) pursuant to this Settlement.
25   2.      RECITALS
26           A.      Between December 2017 and June 2018, multiple class action complaints were filed
27   against Apple in the United States District Courts for the Northern District of Alabama, the Central
28   District of California, the Northern District of California, the Southern District of California, the

                                                          6
                                           STIPULATION OF SETTLEMENT
                                            CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 7 of 161


1    District of Columbia, the Southern District of Florida, the Southern District of Georgia, the Northern
2    District of Illinois, the Southern District of Illinois, the Eastern District of Louisiana, the Eastern
3    District of Missouri, the Western District of Missouri, the Southern District of Mississippi, the District
4    of New Jersey, the Eastern District of New York, the Southern District of New York, the Northern
5    District of Ohio, the Southern District of Ohio, the District of South Carolina, and the Eastern District
6    of Texas.1 Beginning on April 4, 2018, these actions were consolidated by the JPML in the Northern
7    District of California pursuant to 28 U.S.C. § 1407, into the MDL Action, captioned In re Apple Inc.
8    Device Performance Litigation, No. 18-md-2827-EJD.             A list of these actions that have been
9    consolidated into the MDL Action is attached hereto as Appendix A.
10           B.     After their appointment, Class Counsel filed a Consolidated Amended Complaint in the
11   MDL Action on July 2, 2018. The Consolidated Amended Complaint contained allegations concerning
12   unexpected power-offs and a performance management feature that Apple introduced in iOS 10.2.1
13   and iOS 11.2 to avoid them. The Consolidated Amended Complaint identified the “Devices” at issue
14   in the case as including “the iPhone 5, iPhone 5s, iPhone 5c, iPhone SE, iPhone 6, iPhone 6s, iPhone
15   6 Plus, iPhone 6s Plus, iPhone 7, [and] iPhone 7 Plus” and purported to seek certification of a putative
16   class of “[a]ll purchasers, owners, users or lessees” of the devices in the United States and in 40 foreign
17   countries. The Consolidated Amended Complaint alleged that these devices were “defective” and
18   brought claims against Apple for fraud, breach of contractual obligations, violation of consumer
19   protection laws, “trespass to chattels,” and alleged violations of the California Computer Data Access
20   and Fraud Act (CDAFA) and the federal Computer Fraud Abuse Act (CFAA).
21           C.     On October 1, 2018, the Court entered an order granting in part and denying in part
22   Apple’s motion to dismiss the Consolidated Amended Complaint, which dismissed the fraudulent
23   misrepresentation and omission-based claims without prejudice.
24           D.     Class Counsel filed a Second Consolidated Amended Complaint on November 30,
25   2018, which brought the same legal claims under the same consumer protection laws, as well as
26   asserting claims for “trespass to chattels” and for alleged violations of the CDAFA and CFAA.
27

28    1
          The MDL Action shall also include any additional federal actions that have been or may be filed,
          related to, and/or consolidated into the MDL Action.
                                                        7
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
         Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 8 of 161


1           E.      The Court issued another order granting in part and denying in part Apple’s motion to
2    dismiss the Second Consolidated Amended Complaint on April 22, 2019. In its order, the Court
3    dismissed, with prejudice, the claims that the iPhones were “defective,” all claims based on
4    iPhone 5/5c/5s devices, and all common law and statutory fraud claims (whether based on a theory of
5    affirmative misrepresentation or omission). The Court also dismissed, without prejudice, claims
6    related to the Named Plaintiffs’ theory that Apple had breached contractual obligations. However, the
7    Court did not dismiss the claims for trespass to chattels and under the CDAFA and CFAA. The Named
8    Plaintiffs did not amend their complaint to try to replead the contract claims, and they instead elected
9    to stand on their Second Consolidated Amended Complaint.
10          F.      The Parties engaged in extensive discovery in the MDL and JCCP Actions. Class
11   Counsel served more than 170 document requests on Apple, in response to which Apple produced more
12   than 7 million pages of documents. Apple also served written discovery and document requests to each
13   of the Named Plaintiffs, who produced more than 6,000 pages of documents. The Parties also deposed
14   19 individuals, including ten Apple witnesses and nine Named Plaintiffs. The Parties also litigated
15   several discovery motions before the Hon. Rebecca Westerfield (Ret.).
16          G.      Between December 2017 and June 2018, four class action complaints were filed against
17   Apple in California state courts for the counties of Los Angeles, San Francisco, San Mateo, and Santa
18   Clara. The Judicial Council coordinated these actions in the San Francisco Superior Court pursuant to
19   California Code of Civil Procedure § 404.1, and consolidated them into proceedings captioned In re
20   Apple OS Cases, JCCP No. 4976. A Consolidated Master Complaint was filed in the JCCP Action on
21   January 22, 2019, which brought claims under California’s Unfair Competition Law and for “trespass
22   to chattels” on behalf of “all California citizens who purchased, owned, or leased” these devices. On
23   June 20, 2019, the Superior Court entered an order sustaining in part and overruling in part Apple’s
24   demurrer to the Consolidated Master Complaint, holding that the Consolidated Master Complaint did
25   not state an affirmative misrepresentation or omissions-based claim, but declined to sustain Apple’s
26   demurrer to the “trespass to chattels” claim.       The JCCP Plaintiffs filed their First Amended
27   Consolidated Master Complaint on August 5, 2019, which again asserted fraud, consumer protection,
28   and trespass to chattels claims concerning the same devices. At the time of this Settlement, Apple’s

                                                        8
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
         Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 9 of 161


1    demurrer to the First Amended Consolidated Master Complaint in the JCCP Action was fully briefed
2    and awaiting decision.
3           H.      The Parties engaged in extensive, arm’s-length negotiations over the course of many
4    months, including by engaging in several all-day, in-person mediation sessions and numerous
5    additional discussions with the Hon. Layn R. Phillips (Ret.) of Phillips ADR, a former United States
6    District Court Judge and one of the most experienced mediators in the United States. As a result of
7    these arm’s-length negotiations, the Parties reached the Settlement set forth in this Settlement
8    Agreement, which memorializes the Parties’ agreement and rulings by the Hon. Layn R. Phillips (Ret.)
9    regarding certain disputed settlement terms. The Parties intend that this Settlement completely resolve
10   any and all claims that were, or could have been, asserted in the Actions on behalf of individuals in the
11   United States, as well as any non-U.S.-based Named Plaintiffs who filed claims in the United States.
12          I.      Apple vigorously disputes the claims alleged in the Actions and is entering into this
13   Settlement to avoid burdensome and costly litigation.          The Settlement is not an admission of
14   wrongdoing, fault, liability, or damage of any kind. Among other things, Apple disputes that Plaintiffs’
15   dismissed and remaining claims have merit, that Plaintiffs will be able to certify any class in these
16   actions for litigation purposes, that Plaintiffs are entitled to pursue claims on behalf of non-U.S.
17   claimants, that California law would apply nationwide (or beyond U.S. borders), and that Plaintiffs and
18   the putative class would be entitled to any relief. Without admitting any of the allegations made in the
19   Actions or any liability whatsoever, Apple is willing to enter into this Settlement solely in order to
20   eliminate the burdens, distractions, expense and uncertainty of protracted litigation and in order to
21   obtain the releases and final judgment contemplated by this Settlement.
22          J.      Class Counsel and the Named Plaintiffs believe that the claims asserted in the Actions
23   have merit and have examined and considered the benefits to be obtained under this Settlement, the
24   risks associated with the continued prosecution of this complex and potentially time-consuming
25   litigation, and the likelihood of ultimate success on the merits, and have concluded that the Settlement
26   is fair, adequate, reasonable and in the best interests of the Settlement Class.
27          K.      The Parties desire to settle the Actions in their entirety with respect to all potential
28   claims arising out of the same facts alleged in the complaints filed in each of the Actions. The Parties

                                                         9
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 10 of 161


1    intend this Settlement Agreement to bind Apple, the Named Plaintiffs, and all other Settlement Class
2    Members.
3    3.      CONFIDENTIALITY
4            3.1       The Parties must comply with all portions of the Stipulated Protective Order (Dkt. 224
5    in the MDL Action) and the Protective Order Regarding the Disclosure and Use of Discovery Materials
6    (executed March 22, 2019 in the JCCP Action) (collectively, the “Protective Order”), and all orders
7    construing the Protective Order, including but not limited to: (i) the Court’s Order re Motion for
8    Sanctions (Dkt. 350); (ii) Section 8.1, which limits the use of Protected Material (as defined in the
9    Protective Order) to prosecuting, defending, or attempting to settle the Actions, and prohibits the use
10   of Protected Material for any other purpose, including, without limitation, in any other litigation, or for
11   any business or competitive function; and (iii) Section 15, which requires the return, destruction, or
12   deletion of Protected Material (as defined in the Protective Order) within 60 days of the final disposition
13   of the Actions.
14           3.2       This Settlement Agreement and its terms, including the fact of the proposed Settlement,
15   shall remain completely confidential until all documents are executed and the Motion for Preliminary
16   Approval is filed with the Court. Pending the filing of that Motion, Plaintiffs’ Counsel may disclose
17   this Settlement Agreement and its terms to their respective clients who brought any of the actions in
18   the MDL Action, who will also maintain the complete confidentiality of this Settlement Agreement
19   and its terms, including the fact of the proposed Settlement.
20           3.3       If, through the actions of any of the Parties or their counsel, this Settlement Agreement
21   and the proposed Settlement become public before the Motion for Preliminary Approval is filed with
22   the Court, the responsible Party or counsel shall pay liquidated damages of Twenty-Five Thousand
23   U.S. Dollars ($25,000.00) to the non-responsible Party.
24   4.      CERTIFICATION OF THE SETTLEMENT CLASS
25           4.1       The Parties stipulate and agree that, subject to Court approval, the Settlement Class
26   should be conditionally certified pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure
27   solely for purposes of the Settlement embodied in this Settlement Agreement. If, for any reason, this
28   Settlement Agreement is not approved by the Court, the stipulation for certification and all of the

                                                          10
                                            STIPULATION OF SETTLEMENT
                                             CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 11 of 161


1    agreements contained herein shall be considered null and void as provided in paragraph 7.5.
2            4.2    Apple does not consent to certification of the Settlement Class (or to the propriety of
3    class treatment) for any purpose other than to effectuate this Settlement. Apple’s agreement to
4    provisional certification does not constitute an admission of wrongdoing, fault, liability, or damage of
5    any kind, or that any class certification would be appropriate for litigation or any other purpose other
6    than to effectuate this Settlement.
7            4.3    If for any reason the Effective Date does not occur or this Settlement Agreement is
8    terminated, disapproved by any court (including any appellate court), or not consummated for any
9    reason, the order certifying the Settlement Class for purposes of effectuating the Settlement (and all
10   preliminary and final findings regarding that class certification order) shall be automatically vacated
11   upon notice of the same to the Court. The Actions shall then proceed as though the Settlement Class
12   had never been certified pursuant to this Settlement Agreement and such findings had never been made,
13   and the Actions shall return to their procedural postures on the date this Settlement Agreement was
14   signed. Additionally, the Parties and their counsel shall not refer to or invoke the vacated findings
15   and/or order relating to class settlement or Rule 23 of the Federal Rules of Civil Procedure if this
16   Settlement Agreement is not consummated and the Actions are later litigated and contested by Apple
17   under Rule 23 or any equivalent statute or rule.
18   5.      SETTLEMENT CONSIDERATION
19           5.1    Cash Payment to Settlement Class Members. In consideration of the releases and
20   dismissals set forth in this Settlement Agreement, subject to Court approval, and subject to the other
21   terms and conditions of this Settlement Agreement (including the Maximum Class Settlement Amount
22   and Minimum Class Settlement Amount), Settlement Class Members who meet the requirements and
23   follow the procedures set forth in paragraphs 6.3 to 6.7 shall be sent Twenty-Five U.S. Dollars ($25.00)
24   for each iPhone owned. The actual amount of payment may differ, depending on the amount of any
25   Attorneys’ Fees and Expenses, Named Plaintiff Service Awards, notice expenses, and whether the
26   aggregate value of Approved Claims reaches the Minimum Class Settlement Amount or Maximum
27   Class Settlement Amount, as set forth in paragraphs 5.2 to 5.3.3 below. Additionally, if multiple
28   Settlement Class Members submit Claims pertaining to the same eligible device, the payment amount

                                                        11
                                           STIPULATION OF SETTLEMENT
                                            CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 12 of 161


1    for that device shall be divided equally among those submitting Approved Claims regarding that
2    particular device.
3           5.2     Maximum Class Settlement Amount. Notwithstanding paragraph 5.1, in no event
4    shall the aggregate cash payment to the Settlement Class Members exceed the Maximum Class
5    Settlement Amount. If the number of iPhone devices identified in Approved Claims submitted by
6    Settlement Class Members, multiplied by Twenty-Five U.S. Dollars ($25.00), exceeds the Maximum
7    Class Settlement Amount, then the cash payment for each iPhone identified in the Approved Claims
8    shall be reduced on a pro rata basis to ensure the aggregate cash payment to Settlement Class Members
9    does not exceed the Maximum Class Settlement Amount.
10          5.3     Minimum Class Settlement Amount. Notwithstanding paragraph 5.1, if payment of
11   Twenty-Five U.S. Dollars ($25.00) for each iPhone device identified in Approved Claims submitted
12   by Settlement Class Members, the payment of Attorneys’ Fees and Expenses the Court awards to Class
13   Counsel (as contemplated in paragraph 8.1), and the payment of the Named Plaintiff Service Awards
14   would not reach the Minimum Class Settlement Amount, the Residual shall be allocated in order of
15   priority as follows:
16                  5.3.1    The Residual shall be used to pay the costs of settlement notice and
17   administration (as contemplated in paragraph 6.1) up to the amount of Twelve Million Seven-Hundred-
18   Fifty Thousand U.S. Dollars ($12,750,000.00), plus any postage expense incurred after the $12,750,000
19   cap has been reached.
20                  5.3.2    If there are funds remaining in the Residual after paying the costs of settlement
21   notice and administration (as contemplated in paragraph 5.3.1), then the cash payment for each
22   Approved Claim shall be increased on a pro rata basis until the aggregate value of Approved Claims,
23   Attorneys’ Fees and Expenses, and costs of settlement notice and administration equal the Minimum
24   Class Settlement Amount. Notwithstanding the foregoing, the pro rata payment for each Approved
25   Claim per applicable device shall not exceed Five Hundred U.S. Dollars ($500.00).
26                  5.3.3    If the total amount calculated in paragraph 5.3.2 does not reach the Minimum
27   Class Settlement Amount following the pro rata adjustment described therein, then the Parties shall
28   confer on the distribution of the remaining amount, with resolution subject to Court approval.

                                                        12
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 13 of 161


1    6.      NOTICE AND SETTLEMENT ADMINISTRATION
2            6.1    Neutral Settlement Administrator.          Subject to Court approval, the Settlement
3    Administrator shall provide settlement notice and administration services, in accordance with the terms
4    of this Settlement Agreement and the Settlement Administration Protocol. Except as provided in
5    paragraph 5.3.1, Apple shall pay reasonable costs of notice and the costs of administering the
6    Settlement.
7            6.2    Notice Procedures. The Parties agree to the following forms and methods of notice to
8    the Settlement Class:
9                   6.2.1    A copy of the Class Notice, together with the Claim Form, the Settlement, the
10   motions for Final Approval Order and Final Judgment, Attorneys’ Fees and Expenses, and Named
11   Plaintiff Service Awards, and Court orders pertaining to the Settlement, shall be posted and available
12   for download on the Settlement Website maintained by the Settlement Administrator. The information
13   shall remain available on the Settlement Website until the Effective Date.
14                  6.2.2    The Settlement Administrator shall email a copy of the Summary Notice to the
15   email address of record on the Apple ID account of the members of the Settlement Class. The electronic
16   version of the Summary Notice shall contain a direct link to the Settlement Website and the instructions
17   for the Claim Form. To facilitate the distribution of the Summary Notice, within thirty (30) days of
18   the Court’s entry of the Preliminary Approval Order, Apple shall provide the Settlement Administrator
19   with the names, email addresses, mailing addresses, and serial numbers for the members of the
20   Settlement Class. If Apple does not have a valid email address for a member of the Settlement Class,
21   the Settlement Administrator shall mail a copy of the Summary Notice via postcard to that member of
22   the Settlement Class. An email address is not considered valid if it results in a hard bounce back.
23                  6.2.3    The names, email addresses, mailing addresses, and serial numbers are personal
24   information about the members of the Settlement Class and shall be provided to the Settlement
25   Administrator solely for the purposes of providing notice, processing requests for exclusion, and
26   administering payment. The Settlement Administrator shall execute the Stipulated Protective Order
27   (Dkt. 224), treat all such information as “Highly Confidential – Attorneys’ Eyes Only,” and take all
28   reasonable steps to ensure that all such information is used solely for the purpose of administering this

                                                        13
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 14 of 161


1    Settlement.
2                   6.2.4   The Settlement Administrator shall complete the email notice (and, if applicable,
3    the notice via postcard) by the Notice Date. If, despite using best efforts, the Settlement Administrator
4    is unable to complete the notice by the Notice Date, the Settlement Administrator shall inform the
5    Parties of the status of the notice, and notify the Parties when the notice has been completed.
6                   6.2.5   In addition to the notice required by the Court, the Parties may jointly agree to
7    provide additional notice to the members of the Settlement Class, although Class Counsel and Apple
8    must approve any additional notice.
9                   6.2.6   If this notice plan is not approved, or is modified in a material way by the Court,
10   Apple shall have the right to unilaterally terminate the Settlement.
11          6.3     Claim Form. Settlement Class Members who wish to receive a cash payment will be
12   required to submit a Claim Form. The Claim Form shall, among other things, require the Settlement
13   Class Member to certify, under penalty of perjury, that (a) their eligible iPhone device ran iOS 10.2.1
14   or later (for iPhone 6, 6 Plus, 6s, 6s Plus, and SE devices) or iOS 11.2 or later (for iPhone 7 and 7 Plus
15   devices) before December 21, 2017; and (b) they experienced diminished performance on the eligible
16   device when running iOS 10.2.1 or iOS 11.2 before December 21, 2017. The Claim Forms shall be
17   submitted to the Settlement Administrator via U.S. mail or electronically through the Settlement
18   Website.
19          6.4     Claims Period. To be valid, Claim Forms, requests to opt out, and objections must be
20   received by the Settlement Administrator within forty-five (45) days from the Notice Date.
21          6.5     Process for Opting Out of Settlement. The Class Notice shall provide a procedure
22   whereby members of the Settlement Class may exclude themselves from the Settlement. The members
23   of the Settlement Class shall have no less than forty-five (45) days following the Notice Date to exclude
24   themselves. Any member of the Settlement Class who does not timely and validly request exclusion
25   shall be a Settlement Class Member and shall be bound by the terms of this Settlement. As soon as
26   practicable after the opt-out deadline, the Settlement Administrator shall provide the Court with a list
27   of the individuals who timely and validly requested exclusion from the Settlement.
28          6.6     Process for Objections.       The Class Notice shall provide a procedure whereby

                                                        14
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 15 of 161


1    Settlement Class Members may object to the Settlement. Objections shall be filed with the Court and
2    served on Class Counsel and Defense Counsel within forty-five (45) days from the Notice Date. Any
3    objection shall, at a minimum, require the individual to provide: (a) a detailed statement of such
4    Settlement Class Member’s specific objections to any matters before the Court; (b) the grounds for
5    such objections and the reason such Settlement Class Member desires to appear and to be heard; and
6    (c) proof of membership in the Settlement Class, as well as all other materials the Settlement Class
7    Member wants the Court to consider.
8           6.7     Review of Claims Submitted. The Settlement Administrator shall determine whether
9    a submitted Claim Form meets the requirements set forth in this Settlement Agreement. Each Claim
10   Form shall be submitted to and reviewed by the Settlement Administrator, who shall determine whether
11   each Claim shall be allowed. The Settlement Administrator shall use best practices and all reasonable
12   efforts and means to identify and reject duplicate and/or fraudulent claims, including, without
13   limitation, indexing all payments provided to the Settlement Class Members.
14          6.8     Rejection of Claims Forms. Claim Forms that do not meet the requirements set forth
15   in this Settlement and/or in the Claim Form instructions shall be rejected. Where a good faith basis
16   exists, the Settlement Administrator may reject a Claim Form for, among other reasons, the following:
17   (a) the Claim Form identifies a product that is not covered by the terms of this Settlement; (b) failure
18   to fully complete and/or sign the Claim Form; (c) illegible Claim Form; (d) the Claim Form is
19   fraudulent; (e) the Claim Form is duplicative of another Claim Form; (f) the person submitting the
20   Claim Form is not a Settlement Class Member; (g) the person submitting the Claim Form requests that
21   payment be made to a person or entity other than the Settlement Class Member for whom the Claim
22   Form is submitted; (h) failure to timely submit a Claim Form; or (i) the Claim Form otherwise does not
23   meet the requirements of this Settlement Agreement. Claim Forms that do not meet the terms and
24   conditions of this Settlement shall be promptly rejected by the Settlement Administrator. The
25   Settlement Administrator shall have thirty (30) days from the end of the Claims Period to exercise the
26   right of rejection. The Settlement Administrator shall notify the claimant using the contact information
27   provided in the Claim Form of the rejection. Class Counsel and Defense Counsel shall be provided
28   with copies of all such notifications of rejection, provided that the copies do not contain the name,

                                                       15
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 16 of 161


1    email address, mailing address, or other personal identifying information of the claimant. If any
2    claimant whose Claim Form has been rejected, in whole or in part, desires to contest such rejection,
3    the claimant must, within ten (10) days from receipt of the rejection, transmit to the Settlement
4    Administrator by email or U.S. mail a notice and statement of reasons indicating the claimant’s grounds
5    for contesting the rejection, along with any supporting documentation, and requesting further review
6    by the Settlement Administrator, in consultation with Class Counsel and Defense Counsel, of the denial
7    of the Claim. If Class Counsel and Defense Counsel cannot agree on a resolution of the claimant’s
8    notice contesting the rejection, the disputed Claim shall be presented to the Court or a referee appointed
9    by the Court for summary and non-appealable resolution. No person shall have any claim against
10   Apple, Defense Counsel, the Named Plaintiffs, Class Counsel, and/or the Settlement Administrator
11   based on any eligibility determinations, distributions, or awards made in accordance with this
12   Settlement. This provision does not affect or limit in any way the right of review by the Court or
13   referee of any disputed Claim Forms as provided in this Settlement.
14          6.9     Information Regarding Claims Submitted, Approved, and Rejected. Within forty-
15   five (45) days from the end of the Claims Period, the Settlement Administrator shall provide a
16   spreadsheet to Class Counsel and Defense Counsel that contains information sufficient to determine:
17   (a) the number of Settlement Class Members that submitted a claim; (b) the number of submitted Claim
18   Forms that are valid and timely, and which are not; (c) the number of submitted Claim Forms the
19   Settlement Administrator intends to treat as Approved Claims; and (d) the number of submitted Claim
20   Forms the Settlement Administrator has denied and the reason(s) for the denials. The Settlement
21   Administrator shall provide supplemental spreadsheets with respect to any Claim Forms submitted
22   after the expiration of the deadline, within a reasonable time after receiving such Claim Forms. The
23   materials that the Settlement Administrator provides to Class Counsel pursuant to this paragraph shall
24   not contain the names, email addresses, mailing addresses, or other personal identifying information of
25   the Settlement Class Members. The Settlement Administrator shall retain the originals of all Claim
26   Forms (including envelopes with postmarks, as applicable), and shall make copies available to Class
27   Counsel or Defense Counsel (with redactions to remove the names, email addresses, mailing addresses,
28   or other personal identifying information of the Settlement Class Members) upon request. All such

                                                        16
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 17 of 161


1    spreadsheets and related materials (including Claim Forms) shall be designated as “Highly Confidential
2    – Attorneys’ Eyes Only” as provided in paragraph 6.2.3. Should Class Counsel believe they require
3    the name, email address, mailing address, or other personal identifying information of any particular
4    Settlement Class Member, the Parties shall meet-and-confer, on a case-by-case basis, to determine
5    whether the release of such personal identifying information is necessary. Any disputes regarding
6    whether such information may be released to Class Counsel shall be presented to the Court or a referee
7    appointed by the Court for summary and non-appealable resolution. The Settlement Administrator
8    shall only release personal identifying information upon authorization of Apple and/or the authorization
9    of the Court or referee.
10          6.10    Calculation of Cash Payments.           In addition to the spreadsheet(s) specified in
11   paragraph 6.9, within twenty (20) days from the Effective Date, the Settlement Administrator shall
12   provide to Defense Counsel and Class Counsel information sufficient to calculate the per-device and
13   aggregate cash payment for the Approved Claims, calculated in accordance with paragraphs 5.1, 5.2,
14   and 5.3. If multiple Settlement Class Members submit Claims pertaining to the same eligible device,
15   the payment amount for that device shall be divided equally among those Settlement Class Members
16   submitting Approved Claims regarding that particular device.
17          6.11    Opportunity for Review. Defense Counsel and Class Counsel shall have fourteen (14)
18   days after receiving the spreadsheet(s) and information specified in paragraph 6.9 to contest the
19   Settlement Administrator’s determination with respect to any of the submitted Claims. Defense
20   Counsel and Class Counsel shall meet and confer in good faith within ten (10) days to reach resolution
21   of any such disputed Claim(s). If Class Counsel and Defense Counsel cannot agree on a resolution of
22   any such disputed Claim(s), the disputed Claim(s) shall be presented to the Court or a referee appointed
23   by the Court for summary and non-appealable resolution.
24          6.12    Timing of Payment to Settlement Administrator. Within fifty (50) days after the
25   Effective Date, Apple shall deliver the Settlement Funds to the Settlement Administrator. The
26   Settlement Administrator shall agree to hold the Settlement Funds in a non-interest-bearing account,
27   and administer the Settlement Funds, subject to the continuing jurisdiction of the Court and from the
28   earliest possible date, as a qualified settlement fund as defined in Treasury Regulation § 1.468B-1, et

                                                       17
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 18 of 161


1    seq. Any taxes owed by the Settlement Funds shall be paid by the Settlement Administrator out of the
2    Settlement Funds.
3            6.13   Procedures for Distribution of Cash Payments.            Within thirty (30) days after
4    receiving the Settlement Funds pursuant to paragraph 6.12, the Settlement Administrator shall have
5    substantially completed issuance of the payments to the Settlement Class Members for the Approved
6    Claims (and in the case of Named Plaintiffs, the additional Named Plaintiff Service Awards), which
7    shall be sent to Settlement Class Members through electronic distribution, or in the form of checks that
8    are mailed to the addresses provided on the submitted Claim Forms to those Settlement Class Members
9    for whom electronic distribution is not available.
10   7.      COURT APPROVAL
11           7.1    The Parties agree to recommend approval of the Settlement to the Court as fair and
12   reasonable and to undertake their best efforts to obtain such approval. “Best efforts” includes that the
13   Parties may not oppose any application for appellate review by one of the Parties in the event the Court
14   denies preliminary or final approval. The Parties therefore agree that, by no later than February 28,
15   2020, the Named Plaintiffs shall submit this Settlement Agreement, together with its exhibits, to the
16   Court and shall apply for entry of the Preliminary Approval Order.
17           7.2    Class Counsel shall draft the Motion for Preliminary Approval requesting issuance of
18   the Preliminary Approval Order as soon as practicable after execution of this Settlement Agreement,
19   and provide that draft to Defense Counsel at least fourteen (14) days before filing the Motion with the
20   Court. The Motion for Preliminary Approval shall be written in a neutral manner that does not contain
21   inflammatory language about the Parties or their perceived conduct in the Actions.
22           7.3    Upon filing of the Motion for Preliminary Approval, Apple shall provide timely notice
23   of the Settlement as required by the Class Action Fairness Act, 28 U.S.C. § 1711, et seq.
24           7.4    In accordance with the schedule set in the Preliminary Approval Order, Class Counsel
25   shall draft the motion for Final Approval Order and Final Judgment and provide that draft to Defense
26   Counsel at least ten (10) days before filing such motion with the Court.
27           7.5    In the event that the Settlement is not approved (following the exhaustion of any
28   appellate review), then (a) this Settlement Agreement shall be null and void and of no force or effect,

                                                          18
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
          Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 19 of 161


1    (b) any payments made to the Settlement Administrator, including any and all interest earned thereon
2    less monies expended toward settlement administration and/or Settlement Funds, shall be returned to
3    Apple within ten (10) days from the date the Settlement Agreement becomes null and void, (c) any
4    release shall be of no force or effect, and (d) the Settlement may not be referred to or used as evidence
5    or for any other purpose whatsoever in the Actions or in any other action or proceeding. In such event,
6    each Action will proceed as if no settlement has been attempted, and the Parties shall be returned to
7    their respective procedural postures existing on the date the Settlement is executed, so that the Parties
8    may take such litigation steps that they otherwise would have been able to take absent the pendency of
9    this Settlement. However, any reversal, vacatur, or modification on appeal of (a) any amount of the
10   Attorneys’ Fees and Expenses awarded by the Court to Class Counsel, or (b) any determination by the
11   Court to award less than the amounts requested in Attorneys’ Fees and Expenses or Named Plaintiff
12   Service Awards shall not give rise to any right of termination or otherwise serve as a basis for
13   termination of this Settlement.
14   8.      ATTORNEYS’ FEES AND EXPENSES AND NAMED PLAINTIFF SERVICE
             AWARDS
15
             8.1    Any award of Attorneys’ Fees and Expenses shall be decided by the Court and payable
16
     from the Minimum Class Settlement Amount. At least fourteen (14) days before filing a motion
17
     seeking any award of Attorneys’ Fees and Expenses, Class Counsel will disclose to Apple their lodestar
18
     and the amount of fees they intend to seek. If the Parties do not agree on the amount of Attorneys’
19
     Fees and Expenses that Class Counsel will seek, Class Counsel will seek, on behalf of all Plaintiffs’
20
     Counsel, Attorneys’ Fees and Expenses for the benefit of all Named Plaintiffs and all other Settlement
21
     Class Members. It is the Parties’ understanding that no other counsel will be entitled to an independent
22
     award of attorneys’ fees or expenses.
23
             8.2    The Parties have not yet agreed upon the amount of Attorneys’ Fees and Expenses that
24
     Class Counsel will seek, and Apple, while recognizing that the Settlement entitles Class Counsel to
25
     seek reasonable fees and expenses, reserves the right, if any, to object to and oppose Class Counsel’s
26
     requests for Attorneys’ Fees and Expenses. Settlement Class Members shall also have at least thirty-
27
     five (35) days to object to and oppose Class Counsel’s request for Attorneys’ Fees and Expenses by
28

                                                        19
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 20 of 161


1    filing with the Court and serving on Class Counsel and Defense Counsel any objections relating to
2    Class Counsel’s Motion for Attorneys’ Fees and Expenses.
3           8.3     Within fourteen (14) business days of the Court’s Final Approval Order and Final
4    Judgment, Apple shall pay to Class Counsel, either through the Settlement Administrator or directly to
5    Class Counsel, fifty percent (50%) of any Court-approved Attorneys’ Fees and Expenses, subject to
6    Class Counsel executing the Undertaking Regarding Attorneys’ Fees and Costs attached as Exhibit H,
7    and providing all information necessary to effectuate such transmission, including adequate payment
8    instructions consisting of wire transfer instructions, instructions for payment by check, and completed
9    IRS Forms W-9 (including addresses and tax identification numbers). Pursuant to the Undertaking
10   Regarding Attorneys’ Fees and Costs, Class Counsel hereby jointly and severally submit themselves
11   and their law firms (including all shareholders, members, and/or partners of their law firms) to the
12   obligation to repay to Apple the Attorneys’ Fees and Expenses that have been paid if the Court’s Final
13   Approval Order and Final Judgment and/or order regarding Attorneys’ Fees and Expenses is vacated,
14   overturned, reversed, or rendered void. Furthermore, the Undertaking Regarding Attorneys’ Fees and
15   Costs authorizes the Court to summarily issue orders (including but not limited to judgments and
16   attachment orders) against each of Class Counsel for up to the full amount of Attorneys’ Fees and
17   Expenses (plus any additional attorneys’ fees or expenses incurred by Apple in connection with the
18   litigation or enforcement of the Undertaking), and to make findings for sanctions for contempt of court
19   and all other appropriate relief. Class Counsel submits to the jurisdiction of the Court to issue such
20   orders. Within seventy-five (75) days after the Effective Date, Apple shall pay to Class Counsel, either
21   through the Settlement Administrator or directly to Class Counsel, the remainder of the Court-approved
22   Attorneys’ Fees and Expenses, net of any modifications or reversals on appeal or otherwise. Class
23   Counsel has the authority and responsibility to allocate and distribute the awarded funds to other
24   counsel based, in its sole discretion, on counsel’s efforts and contributions in the Actions, provided that
25   the allocation and distribution is consistent with the Court’s order(s) regarding Attorneys’ Fees and
26   Expenses. Apple and Defense Counsel shall have no liability or other responsibility for allocation of
27   any such awarded funds, and, in the event that any dispute arises relating to the allocation of fees or
28   costs, Class Counsel and the Settlement Administrator agree to hold Apple and Defense Counsel

                                                         20
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
           Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 21 of 161


1    harmless from any and all such liabilities, costs, and expenses of such dispute.
2             8.4    Class Counsel will apply to the Court for the payment of a service award for the Named
3    Plaintiffs, not to exceed One Thousand Five-Hundred U.S. Dollars ($1,500.00) for each Named
4    Plaintiff who was not deposed in the Actions, and not to exceed Three Thousand Five-Hundred U.S.
5    Dollars ($3,500.00) for each Named Plaintiff who was deposed in the Actions (i.e., Romeo Alba,
6    Denise Bakke, Alisha Boykin, Steven Connolly, Alvin Davis, Loren Haller, Charlene Lowery, Cynthia
7    Stacy, and Trent Young). The Named Plaintiffs who are Settlement Class Members also shall be
8    required to submit Claim Forms as specified in paragraph 6.3.
9             8.5    The Settlement Administrator shall dispense the Named Plaintiff Service Awards from
10   the Settlement Funds (as defined in paragraph 1.33), and in the manner and timing set forth in paragraph
11   6.13.
12            8.6    The Court’s award(s) of Attorneys’ Fees and Expenses and/or Named Plaintiff Service
13   Awards, if any, shall be separate from its determination of whether to approve the Settlement. In the
14   event the Court approves the Settlement, but declines to award Class Counsel’s Attorneys’ Fees and
15   Expenses and/or Named Plaintiff Service Awards in the amounts requested by Class Counsel, the
16   Settlement will nevertheless be binding on the Parties.
17   9.       CALIFORNIA STATE ACTIONS AND JCCP ACTION
18            9.1    JCCP Counsel have agreed to the terms and conditions of this Settlement. Within ten
19   (10) days after entry of the Final Approval Order and Final Judgment in the MDL Action, JCCP
20   Counsel shall request dismissal of the JCCP Action with prejudice. Class Counsel shall allocate from
21   the Court’s award of Attorneys’ Fees and Expenses, if any, to JCCP Counsel an appropriate amount of
22   attorneys’ fees and expenses that, in Class Counsel’s discretion, is fair and equitable. Neither JCCP
23   Counsel nor any other plaintiffs’ counsel in any of the California state actions that constitute the JCCP
24   Action shall make an independent claim for attorneys’ fees or expenses in any federal or state court.
25   10.      RELEASES AND DISMISSAL OF ACTIONS
26            10.1   As of the Effective Date, the Settlement Class Members and their respective heirs,
27   executors, administrators, representatives, agents, partners, successors, and assigns shall have fully,
28   finally, and forever released, relinquished, and discharged any and all past, present, and future claims,

                                                        21
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 22 of 161


1    actions, demands, causes of action, suits, debts, obligations, damages, rights and liabilities, that were
2    brought, could have been brought, or are related to the same facts underlying the claims asserted in the
3    Actions regarding the iPhone devices at issue, known or unknown, recognized now or hereafter,
4    existing or preexisting, expected or unexpected, pursuant to any theory of recovery (including, but not
5    limited to, those based in contract or tort, common law or equity, federal, state, territorial, or local law,
6    statute, ordinance, or regulation), against the Released Parties, for any type of relief that can be released
7    as a matter of law, including, without limitation, claims for monetary relief, damages (whether
8    compensatory, consequential, punitive, exemplary, liquidated, and/or statutory), costs, penalties,
9    interest, attorneys’ fees, litigation costs, restitution, or equitable relief. Accordingly, the Settlement
10   shall terminate the MDL Action. Notwithstanding the foregoing, the release shall not include any
11   claims relating to the continued enforcement of the Settlement or the Protective Orders.
12           10.2    As of the Effective Date, the Named Plaintiffs (including the non-U.S. Named
13   Plaintiffs) and their respective heirs, executors, administrators, representatives, agents, partners,
14   successors, and assigns shall have fully, finally, and forever released, relinquished, and discharged any
15   and all past, present, and future claims, actions, demands, causes of action, suits, debts, obligations,
16   damages, rights and liabilities, that were brought, could have been brought, or are related to the same
17   facts underlying the claims asserted in the Actions regarding the iPhone devices at issue, known or
18   unknown, recognized now or hereafter, existing or preexisting, expected or unexpected, pursuant to
19   any theory of recovery (including, but not limited to, those based in contract or tort, common law or
20   equity, federal, state, territorial, or local law, statute, ordinance, or regulation), against the Released
21   Parties, for any type of relief that can be released as a matter of law, including, without limitation,
22   claims for monetary relief, damages (whether compensatory, consequential, punitive, exemplary,
23   liquidated, and/or statutory), costs, penalties, interest, attorneys’ fees, litigation costs, restitution, or
24   equitable relief. Class Counsel and non-U.S. Named Plaintiffs hereby represent and warrant that the
25   non-U.S. Named Plaintiffs have the capacity to execute such a release under the applicable laws of
26   their respective jurisdictions. Notwithstanding the foregoing, the release shall not include any claims
27   relating to the continued enforcement of the Settlement or the Protective Orders.
28           10.3    As of the Effective Date, Apple shall have fully, finally, and forever released,

                                                          22
                                           STIPULATION OF SETTLEMENT
                                            CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 23 of 161


1    relinquished, and discharged all claims of abuse of process, malicious prosecution, violations of Federal
2    Rule of Civil Procedure 11, and any other claims arising out of the initiation or prosecution of the MDL
3    Action that are known to Apple as of the Effective Date, against the Named Plaintiffs, Class Counsel,
4    and Plaintiffs’ Executive Committee and Plaintiffs’ Steering Committee pursuant to the Order
5    Consolidating Related Actions and Appointing Interim Co-Lead Plaintiffs’ Counsel and Executive and
6    Steering Committees (Dkt. 100). Notwithstanding the foregoing, this release shall not include any
7    future claims relating to the continued enforcement of the Settlement, the Protective Orders, and all
8    orders construing the Stipulated Protective Order, including but not limited to Dkt. 350. This release
9    does not constitute a general release.
10          10.4    As of the Effective Date, the Settlement Class Members and the Named Plaintiffs shall
11   have fully, finally, and forever released, relinquished, and discharged all claims of abuse of process,
12   malicious prosecution, violations of Federal Rule of Civil Procedure 11, and any other claims arising
13   out of the defense of the MDL Action that are known to the Settlement Class Members and/or the
14   Named Plaintiffs as of the Effective Date, against Apple’s attorneys, legal representatives, and
15   advisors, including Defense Counsel. Notwithstanding the foregoing, this release shall not include any
16   future claims relating to the continued enforcement of the Settlement, the Protective Orders, and all
17   orders construing the Stipulated Protective Order, including but not limited to Dkt. 350. This release
18   does not constitute a general release.
19          10.5    After entering into this Settlement, the Settlement Class Members and/or Named
20   Plaintiffs may discover facts other than, different from, or in addition to, those that they know or believe
21   to be true with respect to the claims released by this Settlement, but they intend to release fully, finally
22   and forever any and all such claims. The Settlement Class Members and Named Plaintiffs expressly
23   agree that, upon the Effective Date, they waive and forever release any and all provisions, rights, and
24   benefits conferred by:
25                  a)        Section 1542 of the California Civil Code, which reads:
26                               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                                 THAT THE CREDITOR OR RELEASING PARTY DOES
27                               NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                                 FAVOR AT THE TIME OF EXECUTING THE RELEASE
28                               AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE

                                                         23
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
           Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 24 of 161


1                               MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                                WITH THE DEBTOR OR RELEASED PARTY.
2
                     and
3
                     b)     any law of any state, territory, or possession of the United States (or for the non-
4
                            U.S. Named Plaintiffs, their respective country, province, or state), or principle
5
                            of common law, which is similar, comparable, or equivalent to Section 1542 of
6
                            the California Civil Code.
7
              10.6   Upon the Effective Date, the Actions shall be dismissed with prejudice. Class Counsel
8
     shall have the responsibility for ensuring that the MDL Action (including the actions identified in
9
     Appendix “A”) and the JCCP Action are dismissed with prejudice in accordance with the terms of this
10
     Settlement.
11
              10.7   The Court shall retain jurisdiction over this Action to enforce the terms of this
12
     Settlement. In the event that any applications for relief are made, such applications shall be made to
13
     the Court. To avoid doubt, the Final Judgment applies to and is binding upon the Parties, the Settlement
14
     Class Members, and their respective heirs, successors, and assigns.
15
     11.      DEFENDANT’S DENIAL OF LIABILITY; AGREEMENT AS DEFENSE IN FUTURE
16            PROCEEDINGS
17
              11.1   Apple has indicated its intent to vigorously contest each and every claim in the Actions,
18
     and denies all of the material allegations in the Actions. Apple enters into this Settlement Agreement
19
     without in any way acknowledging any fault, liability, or wrongdoing of any kind. Apple nonetheless
20
     has concluded that it is in its best interests that the Actions be settled on the terms and conditions set
21
     forth herein in light of the expense that would be necessary to defend the Actions, the benefits of
22
     disposing of protracted and complex litigation, and the desire of Apple to conduct its business
23
     unhampered by the distractions of continued litigation.
24
              11.2   Neither this Settlement Agreement, nor any of its terms or provisions, nor any of the
25
     negotiation or proceedings connected with it, shall be construed as an admission or concession by
26
     Apple of the truth of any of the allegations in the Actions, or of any liability, fault, or wrongdoing of
27
     any kind.
28
              11.3   To the extent permitted by law, neither this Settlement Agreement, nor any of its terms,
                                                         24
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
           Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 25 of 161


1    nor any of the negotiations or proceedings connected with it, shall be offered as evidence or received
2    in evidence in any pending or future civil, criminal, administrative, or other action or proceeding to
3    establish any liability or admission by Apple.
4             11.4   To the extent permitted by law, this Settlement Agreement may be pleaded as a full and
5    complete defense to, and may be used as the basis for an injunction against, any action, suit, or other
6    proceeding which may be instituted, prosecuted, or attempted for claims covered by the releases in this
7    Settlement Agreement.
8    12.      MODIFICATION OR TERMINATION OF THE SETTLEMENT
9             12.1   Apple may, at its sole discretion, terminate this Settlement Agreement if the number of
10   devices associated with the individuals who seek exclusion from the Settlement Class exceeds a
11   specified number of devices attached as Exhibit I and submitted to the Court for in camera review.
12            12.2   The terms and provisions of this Settlement Agreement may be amended, modified, or
13   expanded by written agreement of the Parties and approval of the Court; provided, however, that after
14   entry of the Final Approval Order and Final Judgment, the Parties may by written agreement effect
15   such amendments, modifications, or expansions of this Settlement Agreement and its implementing
16   documents (including all exhibits) without further notice to the Settlement Class or approval by the
17   Court if such changes are consistent with the Court’s Final Approval Order and Final Judgment and do
18   not materially alter, reduce, or limit the rights of Settlement Class Members.
19            12.3   In the event the terms or conditions of this Settlement Agreement, other than terms
20   pertaining to the Attorneys’ Fees and Expenses and/or Named Plaintiff Service Awards, are materially
21   modified by any court, Apple may, in its sole discretion and within thirty (30) days of such material
22   modification, declare this Settlement null and void as provided in paragraph 7.5. For purposes of this
23   paragraph, material modifications include any modifications to the definitions of the Settlement Class,
24   Settlement Class Members, Released Parties, or the scope of the releases (as provided in paragraphs
25   10.1 and 10.2), any modifications to the terms of the Settlement consideration (as provided in
26   paragraphs 5.1 to 5.3.3), and any changes to the notice provisions. In the event of any modification by
27   any court, and in the event Apple does not exercise its unilateral option to withdraw from this
28   Settlement, the Parties shall meet and confer within fourteen (14) days of such modification to attempt

                                                       25
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
           Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 26 of 161


1    to reach an agreement as to how best to effectuate the court-ordered modification.
2             12.4   If the Effective Date is not reached, this Settlement Agreement is without prejudice to
3    the rights of any party hereto, and all terms, negotiations, and proceedings connected therewith shall
4    not be deemed or construed to be an admission by any Party or evidence of any kind in these Actions
5    or any other action or proceeding.
6    13.      NOTICES
7             13.1   All notices to Named Plaintiffs shall be delivered to:
                     Joseph W. Cotchett, Esq.
8                    Mark C. Molumphy, Esq.
                     Anya Thepot, Esq.
9                    Cotchett, Pitre & McCarthy LLP
                     840 Malcolm Road, Suite 200
10                   Burlingame, CA 94010
                     jcotchett@cpmlegal.com
11                   mmolumphy@cpmlegal.com
                     athepot@cpmlegal.com
12
                     Laurence D. King, Esq.
13                   Frederic S. Fox, Esq
                     Donald R. Hall, Esq.
14                   David A. Straite, Esq
                     Kaplan Fox & Kilsheimer LLP
15                   1999 Harrison Street, Suite 1560
                     Oakland, CA 94612
16                   lking@kaplanfox.com
                     ffox@kaplanfox.com
17                   dhall@kaplanfox.com
                     dstraite@kaplanfox.com
18

19            13.2   All notices to Apple shall be delivered to:
20                   Theodore J. Boutrous, Jr., Esq.
                     Richard J. Doren, Esq.
21                   Christopher Chorba, Esq.
                     Gibson, Dunn & Crutcher LLP
22                   333 South Grand Avenue
                     Los Angeles, CA 90071
23                   TBoutrous@gibsondunn.com
                     RDoren@gibsondunn.com
24                   CChorba@gibsondunn.com
25            13.3   The notice recipients and addresses designated in paragraphs 13.1 and 13.2 may be
26   changed upon written notice provided to all individuals identified in those paragraphs.
27   14.      MISCELLANEOUS
28            14.1   The exhibits and appendices attached to this Settlement Agreement are integral parts

                                                        26
                                          STIPULATION OF SETTLEMENT
                                           CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 27 of 161


1    thereof and together with this Settlement Agreement, contain the entire, complete and integrated
2    statement of each and every term and provision of the Settlement. This Settlement Agreement may not
3    be modified in any respect except upon the written consent of the Parties.
4            14.2      The undersigned each represent and warrant that each has authority to enter into this
5    Settlement Agreement on behalf of the Party indicated below his or her name.
6            14.3      If, prior to the Effective Date, Class Counsel knows, or has reason to know, of any
7    Named Plaintiff who intends to exclude himself or herself from the Settlement or who intends to submit
8    an objection to the Settlement, Class Counsel shall promptly notify Defense Counsel within three (3)
9    days. The Parties shall thereafter meet and confer within seven (7) days of such notification to
10   determine whether any modifications to the Settlement, or any other actions or filings, are required.
11           14.4      Class Counsel and the Named Plaintiffs represent and warrant that they have not
12   assigned or transferred, or purported to assign or transfer, to any person or entity, any claim or any
13   portion thereof or interest therein, including, but not limited to, any interest in the Actions or any related
14   action, and they further represent and warrant that they know of no such assignments or transfers on
15   the part of any member of the Settlement Class.
16           14.5      The Parties, together with Class Counsel and Defense Counsel, have jointly participated
17   in the drafting of this Settlement Agreement. No Party hereto shall be considered the drafter of this
18   Settlement Agreement or any provision hereof for the purpose of any statute, case law or rule of
19   interpretation or construction that would or might cause any provision to be construed against the
20   drafter hereof.
21           14.6      As used in this Settlement Agreement, the masculine, feminine, or neutral gender, and
22   the singular or plural wording, shall each be deemed to include the others whenever the context so
23   indicates.
24           14.7      Unless otherwise noted, all references to “days” in this Settlement Agreement shall be
25   to calendar days. In the event any date or deadline set forth in this Settlement Agreement falls on a
26   weekend or federal legal holiday, such date or deadline shall be on the first business day thereafter.
27           14.8      Any and all disputes arising from or related to this Settlement Agreement must be
28   brought by the Parties, Class Counsel, Defense Counsel, and/or members of the Settlement Class

                                                          27
                                           STIPULATION OF SETTLEMENT
                                            CASE NO. 5:18-MD-02827-EJD
        Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 28 of 161


1    exclusively to the Court. The Parties, Class Counsel, Defense Counsel and members of the Settlement
2    Class irrevocably submit to the exclusive and continuing jurisdiction of the Court for any suit, action,
3    proceeding, or dispute arising out of or relating to this Settlement Agreement. All terms of this
4    Settlement Agreement and any suit, action, proceeding, or dispute arising out of or relating to this
5    Settlement Agreement shall be governed by and interpreted according to the substantive laws of the
6    State of California without regard to choice of law or conflicts of laws principles; however, nothing in
7    this Settlement Agreement shall operate as a waiver of any Party’s position regarding the applicable
8    law governing the underlying claims at issue in the Actions.
9           14.9    Unless otherwise ordered by the Court, the Parties may jointly agree to reasonable
10   extensions of time to carry out any of the provisions of this Settlement Agreement.
11          14.10 All motions, discovery, and other proceedings in the Actions shall be stayed until the
12   Court enters the Final Approval Order and Final Judgment, or this Settlement Agreement is otherwise
13   terminated.
14          14.11 Nothing in this Settlement Agreement shall alter or abrogate any prior Court orders
15   entered in the MDL Action.
16          14.12 This Settlement Agreement may be executed in counterparts.               Facsimile or PDF
17   signatures shall be considered valid as of the date they bear.
18          14.13 The Parties, together with Class Counsel and Defense Counsel, agree to prepare and
19   execute all documents, to seek Court approvals, to defend Court approvals, and to do all things
20   reasonably necessary to complete the Settlement.
21          14.14 This Settlement Agreement is executed voluntarily by each of the Parties without any
22   duress or undue influence on the part, or on behalf, of any of them. The Parties represent and warrant
23   to each other that they have read and fully understand the provisions of this Settlement Agreement and
24   have relied on the advice and representation of legal counsel of their own choosing.
25          14.15 This Settlement Agreement may be amended or modified only by a written instrument
26   signed by Defense Counsel and Class Counsel and approved by the Court.
27                                       [Signatures on following page]
28

                                                        28
                                         STIPULATION OF SETTLEMENT
                                          CASE NO. 5:18-MD-02827-EJD
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 29 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 30 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 31 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 32 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 33 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 34 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 35 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 36 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 37 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 38 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 39 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 40 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 41 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 42 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 43 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 44 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 45 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 46 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 47 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 48 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 49 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 50 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 51 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 52 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 53 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 54 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 55 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 56 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 57 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 58 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 59 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 60 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 61 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 62 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 63 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 64 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 65 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 66 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 67 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 68 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 69 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 70 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 71 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 72 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 73 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 74 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 75 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 76 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 77 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 78 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 79 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 80 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 81 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 82 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 83 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 84 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 85 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 86 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 87 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 88 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 89 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 90 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 91 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 92 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 93 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 94 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 95 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 96 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 97 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 98 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 99 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 100 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 101 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 102 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 103 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 104 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 105 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 106 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 107 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 108 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 109 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 110 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 111 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 112 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 113 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 114 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 115 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 116 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 117 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 118 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 119 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 120 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 121 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 122 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 123 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 124 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 125 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 126 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 127 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 128 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 129 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 130 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 131 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 132 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 133 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 134 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 135 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 136 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 137 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 138 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 139 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 140 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 141 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 142 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 143 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 144 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 145 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 146 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 147 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 148 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 149 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 150 of 161
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 151 of 161
             Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 152 of 161
     
        '$7(')HEUXDU\BBB
                           28               7+(%5$1',/$:),50
         

                                                                         
                                                                       
                                          7KRPDV-%UDQGL
                                            7HUHQFH'(GZDUGV
                                           7+(%5$1',/$:),50
                                            3LQH6WUHHW7KLUG)ORRU
                                           6DQ)UDQFLVFR&$
                                            
                                          JCCP Counsel
         

         
        '$7(')HEUXDU\BBB        $33/(,1&
         


                                                                     
                                            1RUHHQ.UDOO
                                          9LFH3UHVLGHQW &KLHI/LWLJDWLRQ&RXQVHO
                                            
                                          Apple Inc.
         
       
         
       
         '$7(')HEUXDU\BBB        *,%621'811 &587&+(5//3
       


         
                                         7KHRGRUH-%RXWURXV-U
                                            5LFKDUG-'RUHQ
                                          &KULVWRSKHU&KRUED
                                            'LDQD0)HLQVWHLQ
                                          *,%621'811 &587&+(5//3
                                            6RXWK*UDQG$YHQXH
                                          /RV$QJHOHV&$
                                            WERXWURXV#JLEVRQGXQQFRP
                                          UGRUHQ#JLEVRQGXQQFRP
                                            FFKRUED#JLEVRQGXQQFRP
                                          GIHLQVWHLQ#JLEVRQGXQQFRP
                                         Counsel for Apple Inc.
                              







                                                   
                                       67,38/$7,212)6(77/(0(17
                                        &$6(120'(-'
Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 153 of 161
      Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 154 of 161


1                                         APPENDIX A
                                    Actions in the MDL Action
2

3    Case                                     District           Case No.
     Abdulla v. Apple Inc.                    N.D. Ill.          1:17-cv-09178
4    Aburos v. Apple Inc.                     S.D. Fla.          1:17-cv-24712
     Banks v. Apple Inc.                      N.D. Cal.          5:18-cv-00241
5
     Batista v. Apple Inc.                    N.D. Cal.          5:17-cv-07355
6    Bilic v. Apple Inc.                      N.D. Cal.          5:18-cv-00449
     Block v. Apple Inc.                      N.D. Cal.          5:18-cv-00481
7
     Bogdanovich v. Apple Inc.                C.D. Cal.          2:17-cv-09138
8    Bond v. Apple Inc.                       N.D. Cal.          5:18-cv-00833
     Borstelmann v. Apple Inc.                E.D. Mo.           4:18-cv-00289
9
     Brand v. Apple Inc.                      D.S.C.             2:17-cv-03453
10   Brodsky v. Apple Inc.                    E.D.N.Y.           2:18-cv-01998
     Brody v. Apple Inc.                      E.D.N.Y.           1:18-cv-00080
11   Burton v. Apple Inc.                     W.D. Mo.           2:17-cv-04257
12   Canoa de Oliveira v. Apple Inc.          N.D. Cal.          5:18-cv-00735
     Chapel v. Apple Inc.                     W.D. Mo.           2:18-cv-04007
13   Cook v. Apple Inc.                       S.D. Cal.          3:17-cv-02579
14   Corporacion Nacional de Consumidores y   N.D. Cal.          3:18-cv-02527
     Usuarios de Chile v. Apple Inc.
15   Cunningham v. Apple Inc.                 N.D. Cal.          5:18-cv-00338
     Diner v. Apple Inc.                      N.D. Cal.          5:18-cv-00179
16
     Donahoe v. Apple Inc.                    N.D. Ohio          1:18-cv-00763
17   Drantivy v. Apple Inc.                   E.D.N.Y.           1:17-cv-07480
     Fahey v. Apple Inc.                      D.D.C.             1:18-cv-00937
18   Ferguson v. Apple Inc.                   N.D. Cal.          5:18-cv-00206
19   Ford v. Apple Inc.                       N.D. Cal.          5:18-cv-00760
     Fung v. Apple Inc.                       N.D. Cal.          5:18-cv-01585
20   Gallmann v. Apple Inc.                   N.D. Cal.          5:17-cv-07285
21   Gilson v. Apple Inc.                     N.D. Cal.          5:18-cv-00216
     Gonzalez v. Apple Inc.                   N.D. Cal.          5:19-cv-06646
22   Grillo v. Apple Inc.                     N.D. Cal.          5:18-cv-00148
     Hakimi v. Apple Inc.                     N.D. Cal.          5:17-cv-07292
23
     Harvey v. Apple Inc.                     N.D. Cal.          5:17-cv-07274
24   Hawes v. Apple Inc.                      N.D. Cal.          5:18-cv-01339
     Hogue v. Apple Inc.                      N.D. Cal.          5:18-cv-00910
25
     Holman v. Apple Inc.                     N.D. Cal.          5:18-cv-00125
26   Honigman v. Apple Inc.                   E.D.N.Y.           2:18-cv-00046
     Johnson v. Apple Inc.                    N.D. Cal.          5:18-cv-00385
27   Jones v. Apple Inc.                      N.D. Cal.          5:18-cv-00406
28   LaNasa v. Apple Inc.                     E.D. La.           2:17-cv-17878

                                              163
                                   STIPULATION OF SETTLEMENT
                                    CASE NO. 5:18-MD-02827-EJD
      Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 155 of 161


1    Case                                  District           Case No.
     Lankford v. Apple Inc.                N.D. Ala.          5:18-cv-00257
2
     Lazarus v. Apple Inc.                 E.D.N.Y.           1:17-cv-07485
3    Liebermann v. Apple Inc.              N.D. Cal.          5:18-cv-00110
     Littlefied v. Apple Inc.              N.D. Cal.          5:18-cv-00182
4
     Mailyan v. Apple Inc.                 C.D. Cal.          2:17-cv-09192
5    Mallh v. Apple Inc.                   E.D.N.Y.           1:18-cv-00051
     McDonald v. Apple Inc.                N.D. Ill.          1:18-cv-00226
6
     McInnis v. Apple Inc.                 S.D. Miss.         1:17-cv-00358
7    Merenstein v. Apple Inc.              N.D. Cal.          5:18-cv-00771
     Miller v. Apple Inc.                  E.D. Tex.          4:17-cv-00889
8    Mills v. Apple Inc.                   D.N.J.             3:18-cv-00780
9    Munro v. Apple Inc.                   N.D. Cal.          5:18-cv-00128
     Naylor v. Apple Inc.                  N.D. Cal.          5:19-cv-04421
10   Neilan v. Apple Inc.                  N.D. Ill.          1:17-cv-09296
11   Neumann v. Apple Inc.                 N.D. Cal.          5:18-cv-00324
     Rabinovits v. Apple Inc.              S.D.N.Y.           1:17-cv-10032
12   Rodriguez v. Apple Inc.               N.D. Cal.          5:18-cv-03989
     Schroeder v. Apple Inc.               S.D. Ind.          1:17-cv-04750
13
     Sens v. Apple Inc.                    S.D. Fla.          0:18-cv-60128
14   Simon v. Apple Inc.                   S.D. Fla.          1:18-cv-20151
     Solak v. Apple Inc.                   N.D. Cal.          5:18-cv-00123
15
     Stefanou v Apple Inc.                 S.D. Ohio          1:18-cv-00007
16   Taylor v. Apple Inc.                  N.D Ala.           7:18-cv-00168
     Webb v. Apple Inc.                    N.D. Cal.          3:18-cv-02167
17   Werner v. Apple Inc.                  N.D. Cal.          5:18-cv-00283
18   Wetherald v. Apple Inc.               N.D. Cal.          5:18-cv-00371
     White v. Apple Inc.                   N.D. Cal.          5:18-cv-00305
19   Williams v. Apple Inc.                N.D. Cal.          3:18-cv-00440
20   Yun v. Apple Inc.                     N.D. Cal.          5:18-cv-01632

21

22

23

24

25

26

27

28

                                           164
                                STIPULATION OF SETTLEMENT
                                 CASE NO. 5:18-MD-02827-EJD
       Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 156 of 161


1                                              APPENDIX B
                                              Named Plaintiffs
2

3    Akrawy, Lilav (Netherlands)†                         Gautreaux, Christopher
     Alba, Romeo*                                         Gheewalla, Shemina
4    Albertson, Kayla                                     Gilson, Robert
     Alexander, Rifah                                     Goldfeld, Hayley
5    Antonucci, Ashley Ann                                Goodrich, Tanya
     Bakke, Denise*                                       Gordon, Tamica
6    Baldwin, Timothy                                     Greenfield, Tammy
7    Batista, Aniledis                                    Greenshner, Jessica
     Becker, Henry                                        Haller, Loren*
8    Bilic, Kristin                                       Hansen, Kristin
     Boyd, Aisha                                          Hawes, Sara
9    Boykin, Alisha*                                      Hawkins, Ronald
     Boykin, Angela                                       Henry, Steven
10
     Brodsky, Sandra                                      Herman, Kyle
11   Brown, Amy                                           Holman, Amanda
     Brown, Kimberly                                      Jackson, Mary
12   Browne, Kevin                                        Jankowski, Kelly A.
     Bryant, Natasha                                      Johnson, Dale
13   Burriss, Patti                                       Kile, James
     Caceres, Juliana (Colombia)†                         Kingston, Kristopher
14
     Canoa de Oliveira, Guilherme (Brazil)†               Klingman, Jill
15   Carlo, Laura                                         Krueger, Connie
     Chandra, Nakul (India)†                              Langlands, Lisa
16   Chen, Hanpeng (Canada)†                              Lazarus, Benjamin
     Christensen, Fredrick                                Lipetz, Robyn
17   Ciccone, Laura                                       Long, Lauren
     Ciccone, Thomas Anthony                              Lowery, Charlene*
18
     Connolly, Steven*                                    Macinanti, Brian
19   Cook, Thomas                                         Mangano, Samuel
     D’Alesandro, Georgiana                               Margolis, Stephen
20   Daci, Burim (Norway)†                                Martino, Michelle
     Daily, Charlie Bell                                  McGill, Brinley
21   Darack, Irwin                                        Merenstein, Gary
22   David, Jonathan                                      Merola, Sandra
     Davis, Alvin*                                        Meyers, Jonathan Jed
23   DeFillippo, Patrick                                  Milman, Judy
     Diamond, Laura Gail                                  Moore, Craig Jonathan
24   Diaz, Lillie Reap                                    Morgan, Tim
     Dillard, Erica                                       Moriello, Barbara
25   Diner, Samara                                        Murakami, Yuichi (Japan)†
26   Ellis, William C.                                    Naylor, Zoe
     Erwin, Beckie                                        Ni, Kaixuan (China)†
27   Farris, John                                         Norman, Amy
     Flores, Aurelia                                      O’Neill, Jacquelyn
28   Gaudio, Elisa (Canada)†                              Pethick, Lawrence

                                                    165
                                       STIPULATION OF SETTLEMENT
                                        CASE NO. 5:18-MD-02827-EJD
       Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 157 of 161


1    Praszkier, Herman                           Thompson, Tonya Margarette
     Rabbanian, Aaron                            Tiano, Gerald
2    Ratner, Jason                               Torres, Shiriam
3    Ray, Jhonjulee                              Toth, Thomas
     Rodriguez, Alex Eugene                      Valle, Heidi
4    Rodriguez, Daphne Bowles                    Vega, Patricia
     Rosalia, Sheri                              Victory, Drew
5    Rutan, Susan                                Villegas, Ida
     Santino, Nikita                             Vinacco, Annamarie
6    Saracina, Darlane                           Wagner, Marianne (Belgium)†
7    Schmidt, Caren                              Webb, John
     Shapiro, Adam                               Weintraub, Lauren
8    Shaske, Matthew                             White, Brandi S.
     Smith, Kenyotta                             Williams, Khendle Harvest
9    Sonna, Linda (Mexico)†                      Woolsey, Kenneth
     Stacy, Cynthia*                             Yashchuk, Andrew
10
     Stone, Sarah                                Yeganeh, Andrew
11   Stratton, Hannah                            Yelton, Sherri
     Tandel, Jessica                             Young, Trent*
12   Tanovan, Eric
     Taylor, Jeanette                            * Deposed
13   Taylor, Joseph                              † Non-U.S. Named Plaintiff
     Thompson, Judith
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           166
                                STIPULATION OF SETTLEMENT
                                 CASE NO. 5:18-MD-02827-EJD
       Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 158 of 161


1                                     APPENDIX C
                                    Plaintiffs’ Counsel
2

3    AHDOOT & WOLFSON, PC                        BROWN LAW FIRM, LLC
     Robert Ahdoot                               Phyllis E. Brown
4    Tina Wolfson                                Adam S. Brown
     Theodore W. Maya
5    Bradley K. King                             BROWN NERI, SMITH & KHAN LLP
                                                 Nathan M. Smith
6    AUDET & PARTNERS, LLP
     William M. Audet                            CAFFERTY CLOBES MERIWETHER &
7
     S. Clinton Woods                            SPRENGEL LLP
8    Ling Y. Kuang                               Bryan L. Clobes
                                                 Anthony F. Fata
9    BARNES & ASSOCIATES                         Christopher P.T. Tourek
     Jason Barnes
10                                               CARELLA, BYRNE, CECCHI, OLSTEIN,
     BARNOW AND ASSOCIATES, P.C.                 BRODY & AGNELLO, P.C.
11   Ben Barnow                                  James E. Cecchi
     Erich P. Schork                             Caroline F. Bartlett
12
     Jeffrey D. Blake                            Donald A. Ecklund
13   Anthony L. Parkhill                         Michael A. Innes

14   BEASLEY, ALLEN, CROW, METHVIN,              CARLSON LYNCH SWEET KILPELA &
     PORTIS & MILES, P.C.                        CARPENTER, LLP
15   Archie I. Grubb, II                         Todd D. Carpenter
     W. Daniel Miles
16                                               CASEY GERRY SCHENK FRANCAVILLA
     BERNSTEIN LIEBHARD LLP                      BLATT & PENFIELD LLP
17                                               David S. Casey, Jr.
     Stanley D. Bernstein
     U. Seth Ottensoser                          Gayle M. Blatt
18                                               Jeremy Robinson
     Stephanie M. Beige                          Angela Jae Chun
19                                               Alyssa Williams
     BIRKA-WHITE LAW OFFICES
20   David M. Birka-White                        CHAVEZ & GERTLER LLP
21                                               Mark A. Chavez
     BLOOD HURST & O’REARDON, LLP
22   Timothy G. Blood                            COHEN & MALAD, LLP
     Thomas J. O’Reardon II                      Irwin B. Levin
23                                               Richard E. Shevitz
     BOYLE BRASHER LLC
                                                 Vess A. Miller
24   Richard I. Woolf
                                                 Lynn A. Toops
25   BRAGAR EAGEL & SQUIRE, P.C.
                                                 COHEN MILSTEIN SELLERS & TOLL
     Jeffrey H. Squire
26                                               PLLC
     David J. Stone
                                                 Andrew N. Friedman
27   Todd H. Henderson                           Douglas J. McNamara
28

                                           167
                                STIPULATION OF SETTLEMENT
                                 CASE NO. 5:18-MD-02827-EJD
       Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 159 of 161


1    COTCHETT, PITRE & McCARTHY, LLP             FLEENOR & GREEN LLP
     Joseph W. Cotchett                          Wilson F. Green
2    Mark C. Molumphy
     Brian Danitz                                FOOTE MIELKE CHAVEZ O’NEIL, LLC
3    Elle D. Lewis                               Robert M. Foote
     Tyson Redenbarger
4                                                GIBBS LAW GROUP LLP
     Gina Stassi
     Gwendolyn R. Giblin                         Eric H. Gibbs
5
     Tamarah P. Prevost                          David Stein
6                                                Joshua Bloomfield
     DEREK G. HOWARD LAW FIRM
7    Derek Howard                                GIRARDI KEESE
                                                 Alexandra Steele
8    DIAMOND McCARTHY LLP
     Christopher D. Sullivan                     GRANT & EISENHOFER P.A.
9                                                Jay W. Eisenhofer
     DICELLO LEVITT & CASEY LLC                  Olav A. Haazen
10   Amy E. Keller                               Kyle J. McGee
11                                               HADSELL STORMER RICHARDSON &
     DRANTIVY LAW FIRM, PLLC
     Edwin Drantivy                              RENICK, LLP
12
     BROWN NERI, SMITH & KHAN LLP                Randall Robinson Renick
13   Nathan M. Smith
                                                 HAEGGQUIST & ECK, LLP
14   EDELMAN, COMBS, LATTURNER &                 Alreen Haeggquist
     GOODWIN, LLC                                Amber L. Eck
15   Daniel A. Edelman                           Kathleen Herkenhoff
     Cathleen M. Combs                           Aaron M. Olsen
16
     James O. Latturner                          Robert D. Prine
17   Emiliya Gumin Farbstein                     Samantha A. Smith

18   EGGNATZ | PASCUCCI                          HAGENS BERMAN SOBOL SHAPIRO LLP
     Joshua H. Eggnatz                           Shana E. Scarlett
19   Michael J. Pascucci                         Steve W. Berman
     Steven Saul                                 Robert F. Lopez
20
                                                 HERMINA LAW GROUP
21   FAZIO | MICHELETTI LLP
                                                 John Hermina
     Jeffrey L. Fazio
22   Dina E. Micheletti
                                                 HOBSON, BERNARDINO & DAVIS, LLP
23                                               Rafael Bernardino, Jr.
     FINKELSTEIN, BLANKINSHIP FREI-
                                                 Jason A. Hobson
     PEARSON & GARBER, LLP
24                                               Andrew Kierstead
     Jeremiah Frei-Pearson
                                                 Peter Wasylyk
25   Chantal Khalil
     Todd Garber
                                                 JAMES S. WERTHEIM LLC
26
                                                 James S. Wertheim
     FINKELSTEIN THOMPSON LLP
27   Gordon M. Fauth, Jr.
28   Rosanne L. Mah
     Todd Garber
                                           168
                                STIPULATION OF SETTLEMENT
                                 CASE NO. 5:18-MD-02827-EJD
       Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 160 of 161


1    JENKINS MULLIGAN & GABRIEL LLP               THE LAW OFFICES OF GREGG A. PINTO
     Daniel J. Mulligan                           Gregg A. Pinto
2    Larry Wayne Gabriel
                                                  THE LAW OFFICES OF RICHARD B.
3
     JOHNSON FISTEL, LLP                          ROSENTHAL, P.A.
4    Frank J. Johnson                             Richard B. Rosenthal
     Phong L. Tran
5                                                 LEAR WERTS LLP
     JOHNSTON PRATT PLLC                          Bradford B. Lear
6    Kenneth C. Johnston                          Todd C. Werts
     Robert W. Gifford
7                                                 LEVI & KORSINSKY, LLP
     KAASS LAW                                    Rosemary M. Rivas
8                                                 Quentin A. Roberts
     Armen Kiramijyan
9    Hovsep Hovsepyan                             Andrea Clisura

10   KANTROWITZ, GOLDHAMER &                      LEVIN SEDRAN & BERMAN
     GRAIFMAN, P.C.                               Daniel C. Levin
11   Gary S. Graifman                             Charles E. Schaffer
     Jay I. Brody
12                                                MASTANDO & ARTRIP, LLC
13   KAPLAN FOX & KILSHEIMER LLP                  Eric J. Artrip
     Fred Fox                                     D. Anthony Mastando
14   Laurence D. King
     David Straite                                MATTHEW EDWARD DONAHUE
15   Donald R. Hall
     Matthew B. George                            MAYER LAW PRACTICE
16   Mario M. Choi                                Aaron Mayer
     Aaron Schwartz
17                                                MILBERG TADLER PHILLIPS
     KELLER ROHRBACK L.L.P.
18                                                GROSSMAN LLP
     Eric Jason Fierro
                                                  David Azar
     Jeffrey Lewis
19                                                Peggy Wedgworth
     Mark A. Griffin
     Karin B. Swope                               Andrei Rado
20                                                Jennifer Czeisler
                                                  Ariana Tadler
21   KESSLER TOPAZ MELTZER & CHECK,
     LLP                                          MINAMI TAMAKI LLP
22   Eli R. Greenstein                            Sean Tamura-Sato
     Joseph H. Meltzer                            Lisa P. Mak
23   Samantha Holbrook
24                                                NOAH BENJAMIN NOVOGRODSKY
     THE LAW OFFICE OF ARON D.
     ROBINSON                                     PODHURST ORSECK, P.A.
25
     Aron D. Robinson                             Stephen F. Rosenthal
26                                                Matthew P. Weinshall
     LAW OFFICE OF CHRISTINE RISTER
27   Christine M. Rister                          POMERANTZ LLP
28                                                Jennifer Pafiti
     LAW OFFICE OF GREGORY ALLEN
     Gregory Allen
                                            169
                                 STIPULATION OF SETTLEMENT
                                  CASE NO. 5:18-MD-02827-EJD
       Case 5:18-md-02827-EJD Document 416 Filed 02/28/20 Page 161 of 161


1    RED SAPPHIRE, P.C.                          SIMON LAW FIRM
     Ugonne Ndukwu Lord                          Anthony G. Simon
2
     ROBBINS GELLER RUDMAN & DOWD                STECKLER GRESHAM COCHRAN PLLC
3
     LLP                                         Bruce W. Steckler
4    Shawn A. Williams                           L. Kirstine Rogers
     Samuel H. Rudman
5    Mark S. Reich                               STRAUSS TROY CO., LPA
     Avital O. Malina                            Richard S. Wayne
6    Paul J. Geller                              Joseph J. Braun
     Mark J. Dearman
7                                                STULL, STULL & BRODY
     Jason H. Aperstein
8    Ricardo Marenco                             Patrice L. Bishop
                                                 Melisa R. Emert
9    SAVERI & SAVERI, INC.
     R. Alexander Saveri                         SULAIMAN LAW GROUP, LTD.
10   Cadio Zirpoli                               James Vlahakis
     Sarah Van Culin                             Omar Sulaiman
11   Geoffrey Rushing                            Mohammed Badwan
                                                 Ahmad Sulaiman
12
     SCOTT COLE & ASSOCIATES, APC                Nathan C. Volheim
13   Scott Edward Cole
     Mark G. Griffin                             THE WAGNER FIRM
14   Andrew Daniel Weaver                        Avraham Wagner

15   SEEGER WEISS LLP                            THOMAS C. WILCOX
     Christopher A. Seeger
16   David R. Buchanan                           WILSHIRE LAW FIRM
17   Cristopher L. Ayers                         Bobby Saadian
                                                 Colin M. Jones
18   SEIDMAN LEGAL
     Joshua E. Seidman                           WITES LAW FIRM
19                                               Marc A. Wites
     SETAREH LAW GROUP
20   Shaun Setareh                               ZIMMERMAN REED LLP
     Thomas Segal                                Christopher P. Ridout
21
                                                 Caleb L.H. Marker
22

23

24

25

26

27

28

                                           170
                                STIPULATION OF SETTLEMENT
                                 CASE NO. 5:18-MD-02827-EJD
